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                           UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


JONATHAN D. RUBIN,                         Case No. 18-cv-01852-VC
            Plaintiff,
                                           ORDER RE MOTION TO WITHDRAW
       v.

FACEBOOK, INC., et al.,
            Defendants.
ASHLEY GENNOCK, et al.,
                                           Case No. 18-cv-01891-VC
            Plaintiffs,

       v.

FACEBOOK, INC., et al.,
            Defendants.

THERESA BEINER, et al.,                    Case No. 18-cv-01953-VC
            Plaintiffs,
       v.

FACEBOOK, INC., et al.,
            Defendants.

SUZIE HASLINGER,                           Case No. 18-cv-01984-VC
            Plaintiff,

       v.

FACEBOOK, INC., et al.,
            Defendants.
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 CHRISTINA LABAJO,                                 Case No. 18-cv-02093-VC
               Plaintiff,

         v.

 FACEBOOK INC., et al.,
               Defendants.



       The motion to withdraw is denied without prejudice to renewal after the Judicial Panel on

Multidistrict Litigation has made its determination in In re: Facebook, Inc., Consumer Privacy

User Profile Litigation, Case No. 2843.

       IT IS SO ORDERED.

Dated: May 21, 2018
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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